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              UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF FLORIDA
                    PANAMA CITY DIVISION

IN RE:                              CASE NO. 18-50157-KKS
                                    CHAPTER 7
MARTIN, KEVIN CHANDLER


     Debtor (s).
____________________________/

         ORDER APPROVING APPLICATION BY TRUSTEE
         TO EMPLOY AND APPOINT GENERAL COUNSEL
                ON HOURLY BASIS (DOC. 46)

      Upon consideration of the Application by Trustee to Employ and

Appoint General Counsel on Hourly Basis (Doc. 46) filed by the

Trustee Mary W. Colón, to employ an attorney for the Trustee, it

appearing that the services of an attorney are warranted and will be

required to fully administer this case, and it further appearing that

Smith, Thompson, Shaw, Minacci, Colón & Power, P. A., is qualified to

represent the Trustee in this matter.

      It is hereby ORDERED as follows:

         1. The Application is APPROVED.

         2. Trustee, MARY W. COLÓN, is hereby authorized to

            employ the above-named entity as attorney for the
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             Trustee, to perform all such legal services as may be

             necessary in carrying out the Trustee's duties in this case.

         3. The Trustee shall not hereafter disburse any monies or

             transfer any property to the above attorney in satisfaction

             of legal fees incurred during this case except upon further

             order of this court.

         4. Upon completion of his/her/their services, the attorney

             shall apply to the court for an award of legal fees.

                           November 9, 2018
      DONE AND ORDERED on _____________.




                                      /s/ Karen K. Specie
                                     ____________________________
                                     KAREN K. SPECIE
                                     U.S. Bankruptcy Judge

Order prepared by:
Mary W. Colón, Esq.

Trustee Mary Colón is directed to serve a copy of this order on
interested parties and file a proof of service within three (3) days of
entry of the order.
